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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF ILLINOIS
                                  EAST ST. LOUIS DIVISION

DEBRA MCDANIEL,                                  )
                                                 )
         Plaintiff,                              )
                                                 )
vs.                                              )       No.
                                                 )
SCHNUCK MARKETS, INC.                            )
                                                 )
         Defendant.                              )

                                            COMPLAINT

         Comes now the plaintiff, Debra McDaniel, by and through her attorney, Derek J. Siegel

of Kuehn, Beasley & Young, P.C., and for her Complaint against defendant, Schnuck Markets,

Inc., states as follows:

         1.      Plaintiff is and was at all times relevant a resident of St. Clair County, Illinois.

         2.      Defendant, Schnuck Markets, Inc. is a Missouri corporation, registered to do

business in Illinois that does business in St. Clair County, Illinois.

         3.      At all times relevant, defendant, Schnuck Markets, Inc. owned, operated, and/or

maintained the Schnucks store located on Highway 50 in O’Fallon, St. Clair County, Illinois,

along with the floors, exits and entranceways inside the building at said location (“the

premises”).

         4.      On or about September 9, 2016, plaintiff was an invitee lawfully on the premises

when she attempted to walk on an entranceway/exit on the premises near the Redbox DVD

machine. At or about the same time and place and at all times exercising due care and caution,

she slipped and fell because of a dangerous condition on the premises.




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       5.      As a direct and proximate result of one or more of the following acts or

omissions, plaintiff suffered injuries to her right wrist, right shoulder, right hip, right knee, and

right side of her body.

                           Count I: Negligence vs. Schnuck Markets, Inc.

       6.      Plaintiff re-alleges Paragraphs 1 through 5 as if fully stated herein.

       7.       Defendant, Schnuck Markets, Inc. had a duty to everyone lawfully on the

premises to maintain the premises, including but not limited to the floor, entranceways and exits

in a reasonably safe condition.

       8.      Defendant, Schnuck Markets, Inc. was negligent in one or more of the following

manners:

               a.         Carelessly and negligently spilt clear liquid onto a walking surface inside
                          the premises;

               b.         Carelessly and negligently failed to adequately dry or mop up clear liquid
                          on a walking surface inside the premises;

               c.         Carelessly and negligently failed to manage and/or supervise maintenance
                          of the walking surfaces inside the premises;

               d.         Carelessly and negligently failed to properly inspect the premises wherein
                          plaintiff was caused to fall;

               e.         Carelessly and negligently failed to provide a safe means of ingress and
                          egress;

               f.         Carelessly and negligently failed to warn people about the dangerous
                          condition on the premises as a result of a clear liquid on a walking surface
                          inside the premises.

       9.      As a direct and proximate result of defendant’s breaches of its duties to maintain

the premises in a reasonably safe condition, plaintiff was injured, including but not limited to

suffering a fractured right wrist.




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       10.     As a result of the above-stated personal injury, plaintiff has incurred and likely

will continue to incur medical bills, and she has suffered and will likely continue to suffer loss of

enjoyment of life and severe pain and suffering.

       Wherefore, plaintiff, Debra McDaniel, requests judgment against defendant, Schnuck

Markets, Inc., in an amount exceeding $50,000, together with costs of suit and any other relief

that the Court deems just.



                                       KUEHN, BEASLEY & YOUNG, P.C.


                                       By:___/s/ Derek Siegel___________________
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